            Case 2:21-cv-04529-MSG Document 5 Filed 10/18/21 Page 1 of 4




                                    IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    CGFNS International, Inc.                              :             Civil Action
                                                           :
                  v.                                       :
                                                           :
    USCIS                                                  :             No.: 2:21-cv-04529


                                                        ORDER

                  AND NOW, this                day of                                    20     , it is hereby

                                                  Carl Walter Hampe
                  ORDERED that the application of ____________________________________, Esquire,

to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) is


                       GRANTED.1

                       DENIED.




                                                                                                    , J.




1This Court's Local Civil Rules require attorneys, including those admitted pro hac vice, to complete the registrat ion
process for the Court's ECF system. Instructions and forms are available on the Court website.
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                                                           IN THE UNITED STATES DISTRICT COURT
                                                         FOR THE EASTERN DISTRICT OFPENNSYLVANIA

                                                                                                 Civil Action No# 2:21-cv-04529

                          APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT
                                    PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

I. APPLICANT’S STATEMENT

         I, Carl W. Hampe                                         the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number               , for the $40.00 admission
fee.

A.      I state that I am currently admitted to practice in the following state jurisdictions:
                     D.C. Ct. of Appeals                      1/10/1994                440475
                   (State where admitted)                      (Admission date)         (Attorney Identification Number)


                     (State where admitted)                     (Admission date)        (Attorney Identification Number)


                     (State where admitted)                     (Admission date)        (Attorney Identification Number)


B.      I state that I am currently admitted to practice in the following federal jurisdictions:
                     USDC District of Columbia                10/2/1995                440475
                   (Court where admitted)                      (Admission date)         (Attorney Identification Number)
                     US Court of Appeals First Circuit        8/16/2019                1189889
                     (Court where admitted)                     (Admission date)        (Attorney Identification Number)
                     US Court of Appeals Ninth Circuit
                                                              12/18/2020               4322455
                     (Court where admitted)                     (Admission date)        (Attorney Identification Number)

C.      I state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney
        of this court uprightly and according to law, and that I will support and defend the Constitution of the United States.

        I am entering my appearance for                        ___________________________________________
                                                               (Applicant’s Signature)
                                                                10/18/2021
                                                               ___________________________________________
                                                               (Date)

           Name of Applicant's Firm            Fragomen Del Rey Bernsen & Loewy LLP
           Address                             1101 15th Street N.W. Suite 700 Washington, DC 20005
           Telephone Number                    (202) 223-5515
           Email Address                       champe@fragomen.com

       I declare under penalty of perjury that the foregoing is true and correct.

                         10/18/2021                                                  ______________________________________
       Executed on __________________________
                                     (Date)                                                     (Applicant’s Signature)

                                                                                                                            04/20
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 II. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

           The undersigned member of the bar of the United States District Court for the Eastern District of Pennsylvania
 hereby moves for the admission of Carl W. Hampe                                                                      to practice
 in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or after reasonable inquiry believe)
 that the applicant is a member in good standing of the above- referenced state and federal courts and that the applicant’s
 private and personal character is good. I certify that this application form was on this date mailed, with postage prepaid, to
 all interested counsel.

 K. Edward Raleigh
 ______________________              _________________________
                                                                                        PA312229
                                                                             02/21/2013 ___________________
                                                                             ____________________
 (Sponsor’s Name)                    (Sponsor’s Signature)                   (Admission date)           (Attorney
                                                                                                       Identification No.)


 SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

   Fragomen Del Rey Bernsen & Loewy LLP
   1101 15th Street N.W. Suite 700 Washington, DC 20005
   (202) 380-1114




I declare under penalty of perjury that the foregoing is true and correct.

               Oct. 18, 2021
Executed on __________________________                          ____________________________________________
                          (Date)                                             (Sponsor’s Signature)
            Case 2:21-cv-04529-MSG Document 5 Filed 10/18/21 Page 4 of 4




                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   CGFNS International, Inc.                              :             Civil Action
                                                          :
                  v.                                      :
                                                          :
   USCIS                                                  :             No.: 2:21-cv-04529


                                             CERTIFICATE OF SERVICE

                                                                                      Carl W. Hampe
                 I declare under penalty of perjury that a copy of the application of _________________________,

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order which, if granted, would permit such practice in this court was served as follows:


all counsel of record




                                                                        ____________________________________
                                                                        (Signature of Attorney)
                                                                         K. Edward Raleigh
                                                                        ____________________________________
                                                                        (Name of Attorney)
                                                                         CGFNS International, Inc.
                                                                        ____________________________________
                                                                        (Name of Moving Party)
                                                                          Oct. 18, 2021
                                                                        ___________________________________
                                                                        (Date)
